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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Michelle Tarpley,                          )
                                           )
      Plaintiff,                           )
                                           )
      v.                                   )       No.   10 C 7701
                                           )
Palisades Collection, LLC, a Delaware      )
limited liability company and The          )
Northland Group, Inc., a Minnesota         )
corporation,                               )
                                           )
      Defendants.                          )       Jury Demanded

                                        COMPLAINT

      Plaintiff, Michelle Tarpley, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendants’ debt

collection actions violated the FDCPA, and to recover damages for Defendants’

violations of the FDCPA, and allege:

                               JURISDICTION AND VENUE

      1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

      2.      Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendants reside and transact business here.

                                          PARTIES

      3.      Plaintiff, Michelle Tarpley ("Tarpley"), is a citizen of the State of

Tennessee, from whom Defendants attempted to collect a delinquent consumer debt,

owed for a First USA credit card, despite the fact that she was represented by the legal

aid attorneys at the Chicago Legal Clinic's Legal Advocates for Seniors and People with
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Disabilities program ("LASPD"), located in Chicago, Illinois.

       4.     Defendant, Palisades Collection, LLC (“Palisades”), is a Delaware limited

liability company that acts as a debt collector, as defined by § 1692a of the FDCPA,

because it regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer debts. Palisades operates a nationwide delinquent debt collection

business and attempts to collect debts from consumers in virtually every state, including

consumers in the State of Illinois.

       5.     Defendant Palisades is a bad debt buyer which specializes in buying large

portfolios of defaulted consumer debts for pennies on the dollar, the full amount of

which debts it then tries to collect through other debt collectors, like Defendant

Northland Group.

       6.     Defendant Palisades is licensed to conduct business in Illinois and

maintains a registered agent here, see, record from the Illinois Secretary of State,

attached as Exhibit A. In fact, Palisades conducts business in Illinois.

       7.     Moreover, Defendant Palisades is licensed as a collection agency in

Illinois, see, record from the Illinois Division of Professional Regulation, attached as

Exhibit B. In fact, Defendant Palisades acts as a debt collector in Illinois.

       8.     Defendant, The Northland Group, Inc. (“Northland”), is a Minnesota

corporation that acts as a debt collector, as defined by § 1692a of the FDCPA, because

it regularly uses the mails and/or the telephone to collect, or attempt to collect, directly

or indirectly, delinquent consumer debts. Northland collects delinquent debts from

consumers in virtually every state, including consumers in the State of Illinois.

       9.     Defendant Northland is licensed to conduct business in Illinois and



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maintains a registered agent here, see, record from the Illinois Secretary of State,

attached as Exhibit C. In fact, Northland conducts business in Illinois.

       10.    Moreover, Defendant Northland is licensed as a collection agency in

Illinois, see, record from the Illinois Division of Professional Regulation, attached as

Exhibit D. In fact, Defendant Northland acts as a debt collector in Illinois.

                                FACTUAL ALLEGATIONS

       11.    Ms. Tarpley is a disabled woman, with limited assets and income, who fell

behind on paying her bills, including a consumer debt she owed for a First USA credit

card. At some point in time after that debt became delinquent, it was bought by

Defendant Palisades, and when Palisades began trying to collect this debt from Ms.

Tarpley, she sought the assistance of the legal aid attorneys at the Chicago Legal

Clinic’s LASPD program, regarding her financial difficulties and Defendants’ collection

actions.

       12.    Specifically, Defendant Palisades hired another debt collector, the Law

Offices of Barry J. Gammons, to demand payment of the First USA/Palisades debt from

Ms. Tarpley. Accordingly, on September 23, 2009, one of Ms. Tarpley’s attorneys at

LASPD informed Defendant Palisades, through its agent, the Law Offices of Barry J.

Gammons, that Ms. Tarpley was represented by counsel, and directed Palisades to

cease contacting her, and to cease all further collection activities because Ms. Tarpley

was forced, by her financial circumstances, to refuse to pay her unsecured debt.

Copies of this letter and fax confirmation are attached as Exhibit E.

       13.    Nonetheless, despite being advised that Ms. Tarpley was represented by

counsel and refused to pay the debt, Defendants sent Ms. Tarpley collection letters,



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dated August 28, 2010 and October 5, 2010, which demanded payment of the First

USA/Palisades debt. Copies of these collection letters are attached as Exhibits F and

G, respectively.

       14.    Accordingly, on October 19, 2010, Ms. Tarpley’s LASPD attorneys had to

send Defendants a letter directing them to cease communications and to cease

collections. Copies of this letter and fax confirmation are attached as Exhibit H.

       15.    All of Defendants’ collection actions complained of herein occurred within

one year of the date of this Complaint.

       16.    Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                        COUNT I
                        Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And To Cease Collections

       17.    Plaintiff adopts and realleges ¶¶ 1-16.

       18.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

       19.    Here, the letter from Ms. Tarpley’s agent, LASPD, told Defendants to

cease communications and to cease collections. By continuing to communicate

regarding this debt and demanding payment, Defendants violated § 1692c(c) of the

FDCPA.

       20.    Defendants’ violations of § 1692c(c) of the FDCPA render them liable for



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statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      21.    Plaintiff adopts and realleges ¶¶ 1-16.

      22.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      23.    Defendants knew, or readily could have known, that Ms. Tarpley was

represented by counsel in connection with her debts because her attorneys at LASPD

had informed Defendants, in writing, that Ms. Tarpley was represented by counsel, and

had directed a cessation of communications with Ms. Tarpley. By directly sending Ms.

Tarpley collection letters, despite being advised that she was represented by counsel,

Defendants violated § 1692c(a)(2) of the FDCPA.

      24.    Defendants’ violations of § 1692c(a)(2) of the FDCPA render them liable

for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                 PRAYER FOR RELIEF

      Plaintiff, Michelle Tarpley, prays that this Court:

      1.     Find that Defendants’ debt collection actions violated the FDCPA;

      2.     Enter judgment in favor of Plaintiff Tarpley, and against Defendants, for

statutory damages, costs, and reasonable attorneys’ fees as provided by § 1692k(a) of

the FDCPA; and,

      3.     Grant such further relief as deemed just.



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                                      JURY DEMAND

       Plaintiff, Michelle Tarpley, demands trial by jury.

                                                     Michelle Tarpley,

                                                     By: /s/ David J. Philipps_________
                                                     One of Plaintiff’s Attorneys

Dated: December 3, 2010

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